                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:08-cr-15

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
JAMAR TURNER (3)                         )
________________________________________ )

       THIS MATTER is before the Court upon motion of the defendant pro se for to receive

credit for jail time. (Doc. No. 90).

       In the motion, the defendant requests that the Court order credit for time that he spent in

federal custody which interrupted the service of an unrelated state sentence. However, the only

the Attorney General, through the Bureau of Prisons, may compute jail credit. United States v.

Stubbs, No. 97-4948, 153 F.3d 724 (4th Cir. 1998) (unpublished) (citing United States v. Wilson,

503 U.S. 329, 112 S. Ct. 1351, 117 L. Ed.2d 593 (1992)).

       IT IS, THEREFORE, ORDERED, that the defendant’s pro se motion to receive jail

credit (Doc. No. 90) is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the United

States Probation office.

                                                  Signed: August 29, 2012




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